LG Electronics Alabama, Inc                                                                                                                   Pay Statement
201 James Record Rd.                                                                                                                          Period Start Date 06/16/2019
Huntsville, AL 35824
                                                                                                                                              Period End Date       06/29/2019
844-880-6954
                                                                                                                                              Pay Date              07/05/2019
                                                                                                                                              Document              45355
                                                                                                                                              Net Pay               $2,430.49

Pay Details

BRETT ANDREW MILLAR                    Employee Number 104614                               Pay Group    LGEAI ISE                            Federal Income Tax                 S   3
102 BLUEBELLE DR.                      SSN                  XXX-XX-7663                     Location     Huntsville, AL                       AL State Income Tax (Residence) W 2
MADISON, AL 35758                      Job                  Mgr, Customer Svc               Division     I10001 - Customer Service            AL State Income Tax (Work)         W 2
USA                                    Pay Rate             $40.6278                        Department I40026 - Field Service
                                       Pay Frequency        Biweekly                        Team         I40102 - FS KAM
                                                                                            Part         -

Earnings

Pay Type                                                                  Hours                              Pay Rate                             Current                                      YTD
Birthday Award                                                          0.0000                               $0.0000                                   $0.00                                $45.92
Dependent Life                                                                                                                                         $0.52                                  $7.28
Group Term Life                                                                                                                                        $4.94                                 $68.41
Holiday                                                                 0.0000                               $0.0000                                   $0.00                              $1,596.50
Non Sales Bonus                                                         0.0000                               $0.0000                                   $0.00                             $6,976.00
Paid Time Off                                                           0.0000                               $0.0000                                   $0.00                              $5,619.04
Regular Pay                                                            80.0000                               $40.6278                            $3,250.22                               $37,929.86
Spouse Life                                                                                                                                            $2.08                                 $29.12




Total Hours 80.0000


Deductions

                                                                                              Employee                                                            Employer

Deduction                                               Pre-Tax                         Current                                YTD                         Current                             YTD
Dep Life Child                                                  No                           $1.03                           $14.42                            $0.00                         $0.00
Dependent Life                                                  No                           $0.52                             $7.28                           $0.00                         $0.00
Group Term Life                                                 No                           $4.94                           $68.41                            $0.00                         $0.00
Healthcare FSA                                                 Yes                          $20.00                          $280.00                            $0.00                         $0.00
Spouse Life                                                     No                           $2.08                           $29.12                            $0.00                         $0.00
Sup Spouse Life                                                 No                           $1.16                           $16.24                            $0.00                         $0.00
Supp Life EE                                                    No                           $4.62                           $64.68                            $0.00                         $0.00
ADD                                                             No                           $0.00                            $0.00                            $30.42                      $422.53
Basic Child Lif                                                 No                           $0.00                            $0.00                             $0.52                         $7.28
Basic Emp Life                                                  No                           $0.00                            $0.00                             $0.32                        $4.48
Basic Sp Life                                                   No                           $0.00                            $0.00                            $2.08                         $29.12
Dental                                                         Yes                           $0.00                            $0.00                        $120.00                         $840.00
Group Term Life                                                 No                           $0.00                            $0.00                        $131.83                        $1,831.12
Long Term Disab                                                 No                           $0.00                            $0.00                             $5.20                       $72.20
Medical HBCBS                                                  Yes                           $0.00                            $0.00                       $1,412.00                      $9,884.00
Short Term Dis                                                  No                           $0.00                            $0.00                             $3.83                        $53.17


Taxes

Tax                                                                                                                                          Current                                           YTD
Federal Income Tax                                                                                                                           $414.25                                      $7,265.48
Employee Medicare                                                                                                                             $46.95                                       $753.89
Social Security Employee Tax                                                                                                                 $200.74                                      $3,223.51
AL State Income Tax                                                                                                                          $130.98                                      $2,170.87


Paid Time Off                                                                                Net Pay Distribution

Plan                                              Current                         Balance                     Account Type - Attention Debit Card Users: When Selecting Debit Card As
Floating Hol.                                     0.0000                          16.0000                     Your Direct Deposit Account Type, Please Be Sure To Obtain Your Account
                                                                                                              Number From The Bank Who Is Providing The Debit Card Service. The
Paid Time Off                                     6.4600                          51.5800
                                                                                             Account          Number On The Debit Card May Not Be The Same As The Account Number
                                                                                             Number           Resulting In Direct Deposit Rejection And A Delay In Payment.                Amount
                                                                                             xxxxxxxxx4340    Checking                                                                    $2,430.49
                                                                                             Total                                                                                        $2,430.49


Pay Summary

                                   Gross                                     FIT Taxable Wages                                Taxes                      Deductions                        Net Pay
Current                         $3,257.76                                            $3,237.76                              $792.92                             $34.35                    $2,430.49
YTD                            $52,272.13                                           $51,992.13                            $13,413.75                           $480.15                   $38,378.23




                  Case 19-82211-CRJ7              Doc 4          Filed 07/24/19 Entered 07/24/19 16:14:18                                                        Desc Main
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LG Electronics Alabama, Inc                                                                                                                    Pay Statement
201 James Record Rd.                                                                                                                           Period Start Date 06/02/2019
Huntsville, AL 35824
                                                                                                                                               Period End Date      06/15/2019
844-880-6954
                                                                                                                                               Pay Date             06/21/2019
                                                                                                                                               Document             44573
                                                                                                                                               Net Pay              $2,430.49

Pay Details

BRETT ANDREW MILLAR                    Employee Number 104614                               Pay Group     LGEAI ISE                            Federal Income Tax                S   3
102 BLUEBELLE DR.                      SSN                  XXX-XX-7663                     Location      Huntsville, AL                       AL State Income Tax (Residence) W 2
MADISON, AL 35758                      Job                  Mgr, Customer Svc               Division      I10001 - Customer Service            AL State Income Tax (Work)        W 2
USA                                    Pay Rate             $40.6278                        Department I40026 - Field Service
                                       Pay Frequency        Biweekly                        Team          I40102 - FS KAM
                                                                                            Part          -

Earnings

Pay Type                                                                  Hours                               Pay Rate                             Current                                     YTD
Birthday Award                                                         0.0000                                 $0.0000                                  $0.00                                $45.92
Dependent Life                                                                                                                                         $0.52                                  $6.76
Group Term Life                                                                                                                                        $4.94                                $63.47
Holiday                                                                0.0000                                 $0.0000                                  $0.00                              $1,596.50
Non Sales Bonus                                                        0.0000                                 $0.0000                                  $0.00                             $6,976.00
Paid Time Off                                                          28.0000                                $40.6278                            $1,137.58                               $5,619.04
Regular Pay                                                            52.0000                                $40.6278                            $2,112.64                              $34,679.64
Spouse Life                                                                                                                                            $2.08                                $27.04




Total Hours 80.0000


Deductions

                                                                                                   Employee                                                        Employer

Deduction                                                    Pre-Tax                        Current                               YTD                      Current                             YTD
Dep Life Child                                                   No                           $1.03                             $13.39                         $0.00                         $0.00
Dependent Life                                                   No                           $0.52                              $6.76                         $0.00                         $0.00
Group Term Life                                                  No                           $4.94                             $63.47                         $0.00                         $0.00
Healthcare FSA                                                   Yes                         $20.00                            $260.00                         $0.00                         $0.00
Spouse Life                                                      No                           $2.08                             $27.04                         $0.00                         $0.00
Sup Spouse Life                                                  No                            $1.16                            $15.08                         $0.00                         $0.00
Supp Life EE                                                     No                           $4.62                             $60.06                         $0.00                         $0.00
ADD                                                              No                           $0.00                              $0.00                         $30.42                       $392.11
Basic Child Lif                                                  No                           $0.00                              $0.00                          $0.52                         $6.76
Basic Emp Life                                                   No                           $0.00                              $0.00                          $0.32                         $4.16
Basic Sp Life                                                    No                           $0.00                              $0.00                         $2.08                        $27.04
Dental                                                           Yes                          $0.00                              $0.00                         $0.00                       $720.00
Group Term Life                                                  No                           $0.00                              $0.00                     $131.83                        $1,699.29
Long Term Disab                                                  No                           $0.00                              $0.00                          $5.20                       $67.00
Medical HBCBS                                                    Yes                          $0.00                              $0.00                         $0.00                      $8,472.00
Short Term Dis                                                   No                           $0.00                              $0.00                          $3.83                       $49.34


Taxes

Tax                                                                                                                                          Current                                           YTD
Federal Income Tax                                                                                                                           $414.25                                      $6,851.23
Employee Medicare                                                                                                                             $46.95                                       $706.94
Social Security Employee Tax                                                                                                                 $200.74                                      $3,022.77
AL State Income Tax                                                                                                                          $130.98                                     $2,039.89


Paid Time Off                                                                               Net Pay Distribution

Plan                                              Current                         Balance                      Account Type - Attention Debit Card Users: When Selecting Debit Card As
Floating Hol.                                     0.0000                          16.0000                      Your Direct Deposit Account Type, Please Be Sure To Obtain Your Account
                                                                                                               Number From The Bank Who Is Providing The Debit Card Service. The
Paid Time Off                                     6.4600                          45.1200
                                                                                             Account           Number On The Debit Card May Not Be The Same As The Account Number
                                                                                             Number            Resulting In Direct Deposit Rejection And A Delay In Payment.               Amount
                                                                                             xxxxxxxxx4340     Checking                                                                   $2,430.49
                                                                                             Total                                                                                        $2,430.49


Pay Summary

                                   Gross                                     FIT Taxable Wages                                 Taxes                      Deductions                       Net Pay
Current                         $3,257.76                                            $3,237.76                               $792.92                             $34.35                   $2,430.49
YTD                            $49,014.37                                           $48,754.37                             $12,620.83                           $445.80                  $35,947.74




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LG Electronics Alabama, Inc                                                                                                                     Pay Statement
201 James Record Rd.                                                                                                                            Period Start Date 05/19/2019
Huntsville, AL 35824
                                                                                                                                                Period End Date      06/01/2019
844-880-6954
                                                                                                                                                Pay Date             06/07/2019
                                                                                                                                                Document             43983
                                                                                                                                                Net Pay              $2,430.49

Pay Details

BRETT ANDREW MILLAR                    Employee Number 104614                                Pay Group    LGEAI ISE                             Federal Income Tax                S   3
102 BLUEBELLE DR.                      SSN                  XXX-XX-7663                      Location     Huntsville, AL                        AL State Income Tax (Residence) W 2
MADISON, AL 35758                      Job                  Mgr, Customer Svc                Division     I10001 - Customer Service             AL State Income Tax (Work)        W 2
USA                                    Pay Rate             $40.6278                         Department I40026 - Field Service
                                       Pay Frequency        Biweekly                         Team         I40102 - FS KAM
                                                                                             Part         -

Earnings

Pay Type                                                                Hours                                 Pay Rate                              Current                                     YTD
Birthday Award                                                         0.0000                                 $0.0000                                   $0.00                                $45.92
Dependent Life                                                                                                                                          $0.52                                 $6.24
Group Term Life                                                                                                                                         $4.94                                $58.53
Holiday                                                                8.0000                                 $40.6278                              $325.02                                $1,596.50
Non Sales Bonus                                                        0.0000                                 $0.0000                                   $0.00                             $6,976.00
Paid Time Off                                                          0.0000                                 $0.0000                                   $0.00                              $4,481.46
Regular Pay                                                            72.0000                                $40.6278                            $2,925.20                               $32,567.00
Spouse Life                                                                                                                                             $2.08                                $24.96




Total Hours 80.0000


Deductions

                                                                                               Employee                                                             Employer

Deduction                                                   Pre-Tax                       Current                               YTD                             Current                         YTD
Dep Life Child                                                  No                            $1.03                           $12.36                             $0.00                        $0.00
Dependent Life                                                  No                            $0.52                            $6.24                             $0.00                        $0.00
Group Term Life                                                 No                            $4.94                          $58.53                              $0.00                        $0.00
Healthcare FSA                                                  Yes                          $20.00                         $240.00                              $0.00                        $0.00
Spouse Life                                                     No                            $2.08                          $24.96                              $0.00                        $0.00
Sup Spouse Life                                                 No                            $1.16                           $13.92                             $0.00                        $0.00
Supp Life EE                                                    No                            $4.62                           $55.44                             $0.00                        $0.00
ADD                                                             No                            $0.00                           $0.00                              $30.42                     $361.69
Basic Child Lif                                                 No                            $0.00                           $0.00                               $0.52                       $6.24
Basic Emp Life                                                  No                            $0.00                           $0.00                               $0.32                       $3.84
Basic Sp Life                                                   No                            $0.00                           $0.00                               $2.08                      $24.96
Dental                                                          Yes                           $0.00                           $0.00                             $120.00                     $720.00
Group Term Life                                                 No                            $0.00                           $0.00                             $131.83                    $1,567.46
Long Term Disab                                                 No                            $0.00                           $0.00                               $5.20                      $61.80
Medical HBCBS                                                   Yes                           $0.00                           $0.00                         $1,412.00                      $8,472.00
Short Term Dis                                                  No                            $0.00                           $0.00                               $3.83                       $45.51


Taxes

Tax                                                                                                                                           Current                                           YTD
Federal Income Tax                                                                                                                            $414.25                                     $6,436.98
Employee Medicare                                                                                                                              $46.95                                       $659.99
Social Security Employee Tax                                                                                                                  $200.74                                      $2,822.03
AL State Income Tax                                                                                                                           $130.98                                      $1,908.91


Paid Time Off                                                                                 Net Pay Distribution

Plan                                              Current                          Balance                      Account Type - Attention Debit Card Users: When Selecting Debit Card As
Floating Hol.                                     0.0000                           16.0000                      Your Direct Deposit Account Type, Please Be Sure To Obtain Your Account
                                                                                                                Number From The Bank Who Is Providing The Debit Card Service. The
Paid Time Off                                     6.4600                           66.6600
                                                                                              Account           Number On The Debit Card May Not Be The Same As The Account Number
                                                                                              Number            Resulting In Direct Deposit Rejection And A Delay In Payment.               Amount
                                                                                              xxxxxxxxx4340     Checking                                                                   $2,430.49
                                                                                              Total                                                                                        $2,430.49


Pay Summary

                                   Gross                                        FIT Taxable Wages                              Taxes                       Deductions                       Net Pay
Current                         $3,257.76                                               $3,237.76                            $792.92                               $34.35                  $2,430.49
YTD                            $45,756.61                                              $45,516.61                          $11,827.91                             $411.45                 $33,517.25




                  Case 19-82211-CRJ7              Doc 4           Filed 07/24/19 Entered 07/24/19 16:14:18                                                         Desc Main
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LG Electronics Alabama, Inc                                                                                                                  Pay Statement
201 James Record Rd.                                                                                                                         Period Start Date 05/05/2019
Huntsville, AL 35824
                                                                                                                                             Period End Date       05/18/2019
844-880-6954
                                                                                                                                             Pay Date              05/24/2019
                                                                                                                                             Document              43208
                                                                                                                                             Net Pay               $2,430.50

Pay Details

BRETT ANDREW MILLAR                    Employee Number 104614                              Pay Group   LGEAI ISE                             Federal Income Tax                 S   3
102 BLUEBELLE DR.                      SSN                  XXX-XX-7663                    Location    Huntsville, AL                        AL State Income Tax (Residence) W 2
MADISON, AL 35758                      Job                  Mgr, Customer Svc              Division    I10001 - Customer Service             AL State Income Tax (Work)         W 2
USA                                    Pay Rate             $40.6278                       Department I40026 - Field Service
                                       Pay Frequency        Biweekly                       Team        I40102 - FS KAM
                                                                                           Part        -

Earnings

Pay Type                                                                Hours                               Pay Rate                             Current                                      YTD
Birthday Award                                                          0.0000                              $0.0000                                $0.00                                   $45.92
Dependent Life                                                                                                                                        $0.52                                  $5.72
Group Term Life                                                                                                                                       $4.94                                $53.59
Holiday                                                                 0.0000                              $0.0000                                $0.00                                 $1,271.48
Non Sales Bonus                                                         0.0000                              $0.0000                                $0.00                                $6,976.00
Paid Time Off                                                           0.0000                              $0.0000                                $0.00                                 $4,481.46
Regular Pay                                                            80.0000                             $40.6278                            $3,250.22                                $29,641.80
Spouse Life                                                                                                                                           $2.08                                $22.88




Total Hours 80.0000


Deductions

                                                                                               Employee                                                            Employer

Deduction                                                   Pre-Tax                        Current                             YTD                        Current                             YTD
Dep Life Child                                                   No                          $1.03                           $11.33                           $0.00                         $0.00
Dependent Life                                                   No                          $0.52                            $5.72                           $0.00                         $0.00
Group Term Life                                                  No                          $4.94                           $53.59                           $0.00                         $0.00
Healthcare FSA                                                   Yes                       $20.00                          $220.00                            $0.00                         $0.00
Spouse Life                                                      No                          $2.08                           $22.88                           $0.00                         $0.00
Sup Spouse Life                                                  No                          $1.16                           $12.76                           $0.00                         $0.00
Supp Life EE                                                     No                          $4.62                           $50.82                           $0.00                         $0.00
ADD                                                              No                          $0.00                            $0.00                           $30.42                       $331.27
Basic Child Lif                                                  No                          $0.00                            $0.00                            $0.52                         $5.72
Basic Emp Life                                                   No                          $0.00                            $0.00                            $0.32                         $3.52
Basic Sp Life                                                    No                          $0.00                            $0.00                           $2.08                        $22.88
Dental                                                           Yes                         $0.00                            $0.00                           $0.00                       $600.00
Group Term Life                                                  No                          $0.00                            $0.00                       $131.83                        $1,435.63
Long Term Disab                                                  No                          $0.00                            $0.00                            $5.20                       $56.60
Medical HBCBS                                                    Yes                         $0.00                            $0.00                           $0.00                     $7,060.00
Short Term Dis                                                   No                          $0.00                            $0.00                            $3.83                       $41.68


Taxes

Tax                                                                                                                                         Current                                           YTD
Federal Income Tax                                                                                                                          $414.25                                      $6,022.73
Employee Medicare                                                                                                                            $46.94                                       $613.04
Social Security Employee Tax                                                                                                                $200.74                                      $2,621.29
AL State Income Tax                                                                                                                         $130.98                                      $1,777.93


Paid Time Off                                                                              Net Pay Distribution

Plan                                              Current                        Balance                     Account Type - Attention Debit Card Users: When Selecting Debit Card As
Floating Hol.                                     0.0000                         16.0000                     Your Direct Deposit Account Type, Please Be Sure To Obtain Your Account
                                                                                                             Number From The Bank Who Is Providing The Debit Card Service. The
Paid Time Off                                     6.4600                         60.2000
                                                                                            Account          Number On The Debit Card May Not Be The Same As The Account Number
                                                                                            Number           Resulting In Direct Deposit Rejection And A Delay In Payment.                Amount
                                                                                            xxxxxxxxx4340    Checking                                                                    $2,430.50
                                                                                            Total                                                                                        $2,430.50


Pay Summary

                                   Gross                                     FIT Taxable Wages                              Taxes                        Deductions                       Net Pay
Current                         $3,257.76                                            $3,237.76                            $792.91                               $34.35                   $2,430.50
YTD                            $42,498.85                                           $42,278.85                          $11,034.99                             $377.10                  $31,086.76




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LG Electronics Alabama, Inc                                                                                                             Pay Statement
201 James Record Rd.                                                                                                                    Period Start Date 04/21/2019
Huntsville, AL 35824
                                                                                                                                        Period End Date          05/04/2019
844-880-6954
                                                                                                                                        Pay Date                 05/10/2019
                                                                                                                                        Document                 42517
                                                                                                                                        Net Pay                  $2,430.49

Pay Details

BRETT ANDREW MILLAR                    Employee Number 104614                             Pay Group    LGEAI ISE                        Federal Income Tax                    S   3
102 BLUEBELLE DR.                      SSN                  XXX-XX-7663                   Location     Huntsville, AL                   AL State Income Tax (Residence) W 2
MADISON, AL 35758                      Job                  Mgr, Customer Svc             Division     I10001 - Customer Service        AL State Income Tax (Work)            W 2
USA                                    Pay Rate             $40.6278                      Department I40026 - Field Service
                                       Pay Frequency        Biweekly                      Team         I40102 - FS KAM
                                                                                          Part         -

Earnings

Pay Type                                                               Hours                           Pay Rate                               Current                                       YTD
Birthday Award                                                         0.0000                              $0.0000                             $0.00                                     $45.92
Dependent Life                                                                                                                                  $0.52                                     $5.20
Group Term Life                                                                                                                                 $4.94                                    $48.65
Holiday                                                                0.0000                              $0.0000                             $0.00                                   $1,271.48
Non Sales Bonus                                                        0.0000                              $0.0000                             $0.00                                   $6,976.00
Paid Time Off                                                          8.0000                          $40.6278                               $325.02                                  $4,481.46
Regular Pay                                                        72.0000                             $40.6278                          $2,925.20                                    $26,391.58
Spouse Life                                                                                                                                     $2.08                                    $20.80




Total Hours 80.0000


Deductions

                                                                                            Employee                                                       Employer
Deduction                                               Pre-Tax                      Current                              YTD                       Current                                 YTD
Dep Life Child                                                No                          $1.03                         $10.30                          $0.00                             $0.00
Dependent Life                                                No                          $0.52                          $5.20                          $0.00                             $0.00
Group Term Life                                               No                          $4.94                         $48.65                          $0.00                             $0.00
Healthcare FSA                                               Yes                      $20.00                          $200.00                           $0.00                             $0.00
Spouse Life                                                   No                          $2.08                         $20.80                          $0.00                             $0.00
Sup Spouse Life                                               No                          $1.16                         $11.60                          $0.00                             $0.00
Supp Life EE                                                  No                          $4.62                         $46.20                          $0.00                             $0.00
ADD                                                           No                          $0.00                          $0.00                          $30.42                          $300.85
Basic Child Lif                                               No                          $0.00                          $0.00                           $0.52                            $5.20
Basic Emp Life                                                No                          $0.00                          $0.00                           $0.32                            $3.20
Basic Sp Life                                                 No                          $0.00                          $0.00                          $2.08                            $20.80
Dental                                                       Yes                          $0.00                          $0.00                      $120.00                             $600.00
Group Term Life                                               No                          $0.00                          $0.00                      $131.83                            $1,303.80
Long Term Disab                                               No                          $0.00                          $0.00                           $5.20                            $51.40
Medical HBCBS                                                Yes                          $0.00                          $0.00                    $1,412.00                            $7,060.00
Short Term Dis                                                No                          $0.00                          $0.00                           $3.83                            $37.85


Taxes

Tax                                                                                                                                  Current                                                YTD
Federal Income Tax                                                                                                                   $414.25                                           $5,608.48
Employee Medicare                                                                                                                     $46.95                                            $566.10
Social Security Employee Tax                                                                                                         $200.74                                           $2,420.55
AL State Income Tax                                                                                                                  $130.98                                           $1,646.95


Paid Time Off                                                                              Net Pay Distribution

Plan                                              Current                       Balance    Account Number                          Account Type                                         Amount
Floating Hol.                                     0.0000                        16.0000    xxxxxxxxx4340                           Checking                                            $2,430.49
Paid Time Off                                     6.4600                        53.7400    Total                                                                                       $2,430.49


Pay Summary

                                   Gross                                  FIT Taxable Wages                              Taxes                    Deductions                            Net Pay
Current                         $3,257.76                                         $3,237.76                             $792.92                          $34.35                        $2,430.49
YTD                            $39,241.09                                        $39,041.09                          $10,242.08                         $342.75                       $28,656.26

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LG Electronics Alabama, Inc                                                                                                                Pay Statement
201 James Record Rd.                                                                                                                       Period Start Date 04/07/2019
Huntsville, AL 35824
                                                                                                                                           Period End Date        04/20/2019
844-880-6954
                                                                                                                                           Pay Date               04/26/2019
                                                                                                                                           Document               41872
                                                                                                                                           Net Pay                $2,430.49

Pay Details

BRETT ANDREW MILLAR                   Employee Number 104614                                Pay Group     LGEAI ISE                        Federal Income Tax                  S   3
102 BLUEBELLE DR.                     SSN                  XXX-XX-7663                      Location      Huntsville, AL                   AL State Income Tax (Residence) W 2
MADISON, AL 35758                     Job                  Cust Svc Analyst III             Division      I10001 - Customer Service        AL State Income Tax (Work)          W 2
USA                                   Pay Rate             $40.6278                         Department I40026 - Field Service
                                      Pay Frequency        Biweekly                         Team          I40102 - FS KAM
                                                                                            Part          -

Earnings

Pay Type                                                              Hours                               Pay Rate                           Current                                         YTD
Birthday Award                                                       0.0000                               $0.0000                                $0.00                                    $45.92
Dependent Life                                                                                                                                   $0.52                                     $4.68
Group Term Life                                                                                                                                  $4.94                                     $43.71
Holiday                                                              0.0000                               $0.0000                                $0.00                                  $1,271.48
Non Sales Bonus                                                      0.0000                               $0.0000                                $0.00                                 $6,976.00
Paid Time Off                                                        13.0000                            $40.6278                             $528.16                                    $4,156.44
Regular Pay                                                          67.0000                            $40.6278                            $2,722.06                                  $23,466.38
Spouse Life                                                                                                                                      $2.08                                     $18.72




Total Hours 80.0000


Deductions

                                                                                               Employee                                                       Employer
Deduction                                                  Pre-Tax                          Current                           YTD                     Current                                YTD
Dep Life Child                                                 No                             $1.03                          $9.27                       $0.00                             $0.00
Dependent Life                                                 No                             $0.52                          $4.68                       $0.00                             $0.00
Group Term Life                                                No                             $4.94                         $43.71                       $0.00                             $0.00
Healthcare FSA                                                 Yes                          $20.00                         $180.00                       $0.00                             $0.00
Spouse Life                                                    No                             $2.08                         $18.72                       $0.00                             $0.00
Sup Spouse Life                                                No                             $1.16                         $10.44                       $0.00                             $0.00
Supp Life EE                                                   No                             $4.62                         $41.58                       $0.00                             $0.00
ADD                                                            No                            $0.00                           $0.00                       $30.42                          $270.43
Basic Child Lif                                                No                            $0.00                           $0.00                        $0.52                            $4.68
Basic Emp Life                                                 No                            $0.00                           $0.00                        $0.32                            $2.88
Basic Sp Life                                                  No                            $0.00                           $0.00                       $2.08                             $18.72
Dental                                                         Yes                           $0.00                           $0.00                       $0.00                           $480.00
Group Term Life                                                No                            $0.00                           $0.00                    $131.83                           $1,171.97
Long Term Disab                                                No                            $0.00                           $0.00                        $5.20                           $46.20
Medical HBCBS                                                  Yes                           $0.00                           $0.00                       $0.00                         $5,648.00
Short Term Dis                                                 No                            $0.00                           $0.00                        $3.83                           $34.02


Taxes

Tax                                                                                                                                      Current                                             YTD
Federal Income Tax                                                                                                                       $414.25                                        $5,194.23
Employee Medicare                                                                                                                         $46.95                                          $519.15
Social Security Employee Tax                                                                                                             $200.74                                        $2,219.81
AL State Income Tax                                                                                                                      $130.98                                        $1,515.97


Paid Time Off                                                                               Net Pay Distribution

Plan                                             Current                          Balance    Account Number                           Account Type                                       Amount
Floating Hol.                                    0.0000                           16.0000    xxxxxxxxx4340                            Checking                                          $2,430.49
Paid Time Off                                    6.4600                           55.2800    Total                                                                                      $2,430.49


Pay Summary

                                   Gross                                       FIT Taxable Wages                           Taxes                     Deductions                          Net Pay
Current                         $3,257.76                                              $3,237.76                       $792.92                             $34.35                       $2,430.49
YTD                            $35,983.33                                             $35,803.33                      $9,449.16                           $308.40                      $26,225.77

                  Case 19-82211-CRJ7             Doc 4         Filed 07/24/19 Entered 07/24/19 16:14:18                                                     Desc Main
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LG Electronics Alabama, Inc                                                                                                                Pay Statement
201 James Record Rd.                                                                                                                       Period Start Date 03/24/2019
Huntsville, AL 35824
                                                                                                                                           Period End Date          04/06/2019
256-774-4119
                                                                                                                                           Pay Date                 04/12/2019
                                                                                                                                           Document                 41279
                                                                                                                                           Net Pay                  $2,430.48

Pay Details

BRETT ANDREW MILLAR                    Employee Number 104614                                 Pay Group   LGEAI ISE                        Federal Income Tax                    S   3
102 BLUEBELLE DR.                      SSN                  XXX-XX-7663                       Location    Huntsville, AL                   AL State Income Tax (Residence) W 2
MADISON, AL 35758                      Job                  Cust Svc Analyst III              Division    I10001 - Customer Service        AL State Income Tax (Work)            W 2
USA                                    Pay Rate             $40.6278                          Department I40026 - Field Service
                                       Pay Frequency        Biweekly                          Team        I40102 - FS KAM
                                                                                              Part        -

Earnings

Pay Type                                                               Hours                               Pay Rate                              Current                                       YTD
Birthday Award                                                         0.0000                                 $0.0000                             $0.00                                     $45.92
Dependent Life                                                                                                                                     $0.52                                      $4.16
Group Term Life                                                                                                                                    $4.94                                     $38.77
Holiday                                                                0.0000                                 $0.0000                             $0.00                                   $1,271.48
Non Sales Bonus                                                        0.0000                                 $0.0000                             $0.00                                  $6,976.00
Paid Time Off                                                          2.0000                              $40.6278                               $81.26                                  $3,628.28
Regular Pay                                                         78.0000                                $40.6278                         $3,168.96                                    $20,744.32
Spouse Life                                                                                                                                        $2.08                                    $16.64




Total Hours 80.0000


Deductions

                                                                                               Employee                                                       Employer
Deduction                                               Pre-Tax                          Current                             YTD                      Current                                  YTD
Dep Life Child                                                No                              $1.03                         $8.24                          $0.00                             $0.00
Dependent Life                                                No                              $0.52                         $4.16                          $0.00                             $0.00
Group Term Life                                               No                              $4.94                        $38.77                          $0.00                             $0.00
Healthcare FSA                                                Yes                            $20.00                      $160.00                           $0.00                             $0.00
Spouse Life                                                   No                              $2.08                        $16.64                          $0.00                             $0.00
Sup Spouse Life                                               No                              $1.16                         $9.28                          $0.00                             $0.00
Supp Life EE                                                  No                              $4.62                        $36.96                          $0.00                             $0.00
ADD                                                           No                              $0.00                        $0.00                           $30.42                          $240.01
Basic Child Lif                                               No                              $0.00                        $0.00                            $0.52                             $4.16
Basic Emp Life                                                No                              $0.00                        $0.00                            $0.32                            $2.56
Basic Sp Life                                                 No                              $0.00                        $0.00                           $2.08                            $16.64
Dental                                                        Yes                             $0.00                        $0.00                      $120.00                              $480.00
Group Term Life                                               No                              $0.00                        $0.00                       $131.83                            $1,040.14
Long Term Disab                                               No                              $0.00                        $0.00                            $5.20                           $41.00
Medical HBCBS                                                 Yes                             $0.00                        $0.00                     $1,412.00                           $5,648.00
Short Term Dis                                                No                              $0.00                        $0.00                            $3.83                           $30.19


Taxes

Tax                                                                                                                                      Current                                               YTD
Federal Income Tax                                                                                                                       $414.25                                          $4,779.98
Employee Medicare                                                                                                                         $46.95                                           $472.20
Social Security Employee Tax                                                                                                             $200.75                                          $2,019.07
AL State Income Tax                                                                                                                      $130.98                                          $1,384.99


Paid Time Off                                                                                 Net Pay Distribution

Plan                                              Current                          Balance     Account Number                         Account Type                                         Amount
Floating Hol.                                     0.0000                           16.0000     xxxxxxxxx4340                          Checking                                            $2,430.48
Paid Time Off                                     6.4600                           61.8200     Total                                                                                      $2,430.48


Pay Summary

                                   Gross                                    FIT Taxable Wages                               Taxes                    Deductions                            Net Pay
Current                         $3,257.76                                              $3,237.76                         $792.93                            $34.35                        $2,430.48
YTD                            $32,725.57                                            $32,565.57                         $8,656.24                          $274.05                       $23,795.28

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LG Electronics Alabama, Inc                                                                                                                 Pay Statement
201 James Record Rd.                                                                                                                        Period Start Date 03/10/2019
Huntsville, AL 35824
                                                                                                                                            Period End Date      03/23/2019
256-774-4119
                                                                                                                                            Pay Date             03/29/2019
                                                                                                                                            Document             40538
                                                                                                                                            Net Pay              $2,430.50

Pay Details

BRETT ANDREW MILLAR                    Employee Number 104614                                Pay Group     LGEAI ISE                        Federal Income Tax                S   3
102 BLUEBELLE DR.                      SSN                  XXX-XX-7663                      Location      Huntsville, AL                   AL State Income Tax (Residence) W 2
MADISON, AL 35758                      Job                  Cust Svc Analyst III             Division      I10001 - Customer Service        AL State Income Tax (Work)        W 2
USA                                    Pay Rate             $40.6278                         Department I40026 - Field Service
                                       Pay Frequency        Biweekly                         Team          I40102 - FS KAM
                                                                                             Part          -

Earnings

Pay Type                                                                Hours                                  Pay Rate                           Current                                   YTD
Birthday Award                                                          0.0000                                 $0.0000                              $0.00                                $45.92
Dependent Life                                                                                                                                      $0.52                                 $3.64
Group Term Life                                                                                                                                     $4.94                                $33.83
Holiday                                                                 0.0000                                 $0.0000                              $0.00                              $1,271.48
Non Sales Bonus                                                         0.0000                                 $0.0000                              $0.00                             $6,976.00
Paid Time Off                                                           0.0000                                 $0.0000                              $0.00                              $3,547.02
Regular Pay                                                            80.0000                                 $40.6278                       $3,250.22                               $17,575.36
Spouse Life                                                                                                                                         $2.08                                 $14.56




Total Hours 80.0000


Deductions

                                                                                                Employee                                                      Employer
Deduction                                                   Pre-Tax                          Current                            YTD                    Current                              YTD
Dep Life Child                                                  No                             $1.03                           $7.21                    $0.00                             $0.00
Dependent Life                                                  No                             $0.52                           $3.64                    $0.00                             $0.00
Group Term Life                                                 No                             $4.94                          $33.83                    $0.00                             $0.00
Healthcare FSA                                                  Yes                          $20.00                         $140.00                     $0.00                             $0.00
Spouse Life                                                     No                             $2.08                          $14.56                    $0.00                             $0.00
Sup Spouse Life                                                 No                             $1.16                           $8.12                    $0.00                             $0.00
Supp Life EE                                                    No                             $4.62                          $32.34                    $0.00                             $0.00
ADD                                                             No                            $0.00                            $0.00                    $30.42                          $209.59
Basic Child Lif                                                 No                            $0.00                            $0.00                     $0.52                            $3.64
Basic Emp Life                                                  No                            $0.00                            $0.00                     $0.32                            $2.24
Basic Sp Life                                                   No                            $0.00                            $0.00                     $2.08                            $14.56
Dental                                                          Yes                           $0.00                            $0.00                    $0.00                           $360.00
Group Term Life                                                 No                            $0.00                            $0.00                   $131.83                          $908.31
Long Term Disab                                                 No                            $0.00                            $0.00                     $5.20                           $35.80
Medical HBCBS                                                   Yes                           $0.00                            $0.00                    $0.00                         $4,236.00
Short Term Dis                                                  No                            $0.00                            $0.00                     $3.83                           $26.36


Taxes

Tax                                                                                                                                       Current                                           YTD
Federal Income Tax                                                                                                                        $414.25                                      $4,365.73
Employee Medicare                                                                                                                          $46.94                                       $425.25
Social Security Employee Tax                                                                                                              $200.74                                      $1,818.32
AL State Income Tax                                                                                                                       $130.98                                      $1,254.01


Paid Time Off                                                                                Net Pay Distribution

Plan                                              Current                          Balance    Account Number                           Account Type                                     Amount
Floating Hol.                                     0.0000                           16.0000    xxxxxxxxx4340                            Checking                                        $2,430.50
Paid Time Off                                     6.4600                           57.3600    Total                                                                                    $2,430.50


Pay Summary

                                   Gross                                    FIT Taxable Wages                               Taxes                   Deductions                          Net Pay
Current                         $3,257.76                                              $3,237.76                          $792.91                        $34.35                        $2,430.50
YTD                            $29,467.81                                             $29,327.81                       $7,863.31                        $239.70                       $21,364.80

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LG Electronics Alabama, Inc                                                                                                                 Pay Statement
201 James Record Rd.                                                                                                                        Period Start Date 02/24/2019
Huntsville, AL 35824
                                                                                                                                            Period End Date      03/09/2019
256-774-4119
                                                                                                                                            Pay Date             03/15/2019
                                                                                                                                            Document             40281
                                                                                                                                            Net Pay              $2,430.49

Pay Details

BRETT ANDREW MILLAR                   Employee Number 104614                                Pay Group     LGEAI ISE                         Federal Income Tax                S   3
102 BLUEBELLE DR.                     SSN                  XXX-XX-7663                      Location      Huntsville, AL                    AL State Income Tax (Residence) W 2
MADISON, AL 35758                     Job                  Cust Svc Analyst III             Division      I10001 - Customer Service         AL State Income Tax (Work)        W 2
USA                                   Pay Rate             $40.6278                         Department I40026 - Field Service
                                      Pay Frequency        Biweekly                         Team          I40102 - FS KAM
                                                                                            Part          -

Earnings

Pay Type                                                               Hours                                  Pay Rate                            Current                                   YTD
Birthday Award                                                         0.0000                                 $0.0000                               $0.00                                $45.92
Dependent Life                                                                                                                                      $0.52                                  $3.12
Group Term Life                                                                                                                                     $4.94                                $28.89
Holiday                                                                0.0000                                 $0.0000                               $0.00                              $1,271.48
Non Sales Bonus                                                        0.0000                                 $0.0000                               $0.00                             $6,976.00
Paid Time Off                                                         12.0000                                 $40.6278                            $487.53                              $3,547.02
Regular Pay                                                           68.0000                                 $40.6278                        $2,762.69                               $14,325.14
Spouse Life                                                                                                                                         $2.08                                 $12.48




Total Hours 80.0000


Deductions

                                                                                               Employee                                                       Employer
Deduction                                                  Pre-Tax                          Current                             YTD                    Current                              YTD
Dep Life Child                                                 No                             $1.03                            $6.18                    $0.00                             $0.00
Dependent Life                                                 No                             $0.52                            $3.12                    $0.00                             $0.00
Group Term Life                                                No                             $4.94                           $28.89                    $0.00                             $0.00
Healthcare FSA                                                 Yes                          $20.00                           $120.00                    $0.00                             $0.00
Spouse Life                                                    No                             $2.08                           $12.48                    $0.00                             $0.00
Sup Spouse Life                                                No                             $1.16                            $6.96                    $0.00                             $0.00
Supp Life EE                                                   No                             $4.62                           $27.72                    $0.00                             $0.00
ADD                                                            No                            $0.00                             $0.00                    $30.42                           $179.17
Basic Child Lif                                                No                            $0.00                             $0.00                     $0.52                             $3.12
Basic Emp Life                                                 No                            $0.00                             $0.00                     $0.32                             $1.92
Basic Sp Life                                                  No                            $0.00                             $0.00                     $2.08                            $12.48
Dental                                                         Yes                           $0.00                             $0.00                    $0.00                           $360.00
Group Term Life                                                No                            $0.00                             $0.00                   $131.83                          $776.48
Long Term Disab                                                No                            $0.00                             $0.00                     $5.20                           $30.60
Medical HBCBS                                                  Yes                           $0.00                             $0.00                    $0.00                         $4,236.00
Short Term Dis                                                 No                            $0.00                             $0.00                     $3.83                           $22.53


Taxes

Tax                                                                                                                                       Current                                           YTD
Federal Income Tax                                                                                                                        $414.25                                      $3,951.48
Employee Medicare                                                                                                                          $46.95                                       $378.31
Social Security Employee Tax                                                                                                              $200.74                                      $1,617.58
AL State Income Tax                                                                                                                       $130.98                                      $1,123.03


Paid Time Off                                                                               Net Pay Distribution

Plan                                             Current                          Balance    Account Number                            Account Type                                     Amount
Floating Hol.                                    0.0000                           16.0000    xxxxxxxxx4340                             Checking                                        $2,430.49
Paid Time Off                                    6.4600                           50.9000    Total                                                                                     $2,430.49


Pay Summary

                                   Gross                                   FIT Taxable Wages                                Taxes                   Deductions                          Net Pay
Current                         $3,257.76                                             $3,237.76                           $792.92                        $34.35                        $2,430.49
YTD                            $26,210.05                                           $26,090.05                           $7,070.40                      $205.35                       $18,934.30

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LG Electronics Alabama, Inc                                                                                                              Pay Statement
201 James Record Rd.                                                                                                                     Period Start Date 03/01/2019
Huntsville, AL 35824
                                                                                                                                         Period End Date         03/01/2019
256-774-4119
                                                                                                                                         Pay Date                03/08/2019
                                                                                                                                         Document                39863
                                                                                                                                         Net Pay                 $4,558.82

Pay Details
BRETT ANDREW MILLAR                   Employee Number 104614                                Pay Group   LGEAI ISE                        Federal Income Tax                   S   3
102 BLUEBELLE DR.                     SSN                  XXX-XX-7663                      Location    Huntsville, AL                   AL State Income Tax (Residence) W 2
MADISON, AL 35758                     Job                  Cust Svc Analyst III             Division    I10001 - Customer Service        AL State Income Tax (Work)           W 2
USA                                   Pay Rate             $40.6278                         Department I40026 - Field Service
                                      Pay Frequency        Biweekly                         Team        I40102 - FS KAM
                                                                                            Part        -

Earnings

Pay Type                                                              Hours                               Pay Rate                             Current                                     YTD
Birthday Award                                                        0.0000                              $0.0000                               $0.00                                    $45.92
Dependent Life                                                        0.0000                              $0.0000                               $0.00                                     $2.60
Group Term Life                                                       0.0000                              $0.0000                               $0.00                                    $23.95
Holiday                                                               0.0000                              $0.0000                               $0.00                                  $1,271.48
Non Sales Bonus                                                                                                                            $5,323.00
Non Sales Bonus                                                                                                                            $1,653.00                                  $1,653.00
Paid Time Off                                                         0.0000                              $0.0000                               $0.00                                 $3,059.49
Regular Pay                                                           0.0000                              $0.0000                               $0.00                                 $11,562.45
Spouse Life                                                           0.0000                              $0.0000                               $0.00                                    $10.40




Total Hours 0.0000


Deductions

                                                                                               Employee                                                      Employer
Deduction                                                  Pre-Tax                          Current                         YTD                     Current                                YTD
Dep Life Child                                                 No                            $0.00                         $5.15                         $0.00                            $0.00
Dependent Life                                                 No                            $0.00                         $2.60                         $0.00                            $0.00
Group Term Life                                                No                            $0.00                        $23.95                         $0.00                            $0.00
Healthcare FSA                                                 Yes                           $0.00                       $100.00                         $0.00                            $0.00
Spouse Life                                                    No                            $0.00                        $10.40                         $0.00                            $0.00
Sup Spouse Life                                                No                            $0.00                         $5.80                         $0.00                            $0.00
Supp Life EE                                                   No                            $0.00                        $23.10                         $0.00                            $0.00
ADD                                                            No                            $0.00                         $0.00                         $0.00                          $148.75
Basic Child Lif                                                No                            $0.00                         $0.00                         $0.00                            $2.60
Basic Emp Life                                                 No                            $0.00                         $0.00                         $0.00                            $1.60
Basic Sp Life                                                  No                            $0.00                         $0.00                         $0.00                           $10.40
Dental                                                         Yes                           $0.00                         $0.00                         $0.00                          $360.00
Group Term Life                                                No                            $0.00                         $0.00                         $0.00                          $644.65
Long Term Disab                                                No                            $0.00                         $0.00                         $0.00                           $25.40
Medical HBCBS                                                  Yes                           $0.00                         $0.00                         $0.00                        $4,236.00
Short Term Dis                                                 No                            $0.00                         $0.00                         $0.00                           $18.70


Taxes

Tax                                                                                                                                      Current                                           YTD
Federal Income Tax                                                                                                                      $1,534.72                                      $3,537.23
Employee Medicare                                                                                                                        $101.15                                        $331.36
Social Security Employee Tax                                                                                                             $432.51                                       $1,416.84
AL State Income Tax                                                                                                                      $348.80                                        $992.05


Paid Time Off                                                                               Net Pay Distribution

Plan                                             Current                          Balance    Account Number                         Account Type                                        Amount
Floating Hol.                                    0.0000                           16.0000    xxxxxxxxx4340                          Checking                                          $4,558.82
Paid Time Off                                    0.0000                           56.4400    Total                                                                                    $4,558.82


Pay Summary

                                   Gross                                       FIT Taxable Wages                         Taxes                      Deductions                          Net Pay
Current                        $6,976.00                                               $6,976.00                     $2,417.18                             $0.00                      $4,558.82
YTD                            $17,629.29                                             $22,852.29                     $6,277.48                           $171.00                      $11,180.81

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LG Electronics Alabama, Inc                                                                                                               Pay Statement
201 James Record Rd.                                                                                                                      Period Start Date 02/10/2019
Huntsville, AL 35824
                                                                                                                                          Period End Date         02/23/2019
256-774-4119
                                                                                                                                          Pay Date                03/01/2019
                                                                                                                                          Document                39530
                                                                                                                                          Net Pay                 $2,382.99

Pay Details

BRETT ANDREW MILLAR                    Employee Number 104614                                Pay Group   LGEAI ISE                        Federal Income Tax                   S   3
102 BLUEBELLE DR.                      SSN                  XXX-XX-7663                      Location    Huntsville, AL                   AL State Income Tax (Residence) W 2
MADISON, AL 35758                      Job                  Cust Svc Analyst III             Division    I10001 - Customer Service        AL State Income Tax (Work)           W 2
USA                                    Pay Rate             $39.7335                         Department I40026 - Field Service
                                       Pay Frequency        Biweekly                         Team        I40102 - FS KAM
                                                                                             Part        -

Earnings

Pay Type                                                               Hours                             Pay Rate                               Current                                     YTD
Birthday Award                                                       0.0000                               $0.0000                                 $0.00                                   $45.92
Dependent Life                                                                                                                                    $0.52                                    $2.60
Group Term Life                                                                                                                                   $4.79                                   $23.95
Holiday                                                              8.0000                              $39.7335                               $317.87                                 $1,271.48
Paid Time Off                                                        0.0000                               $0.0000                                 $0.00                                $3,059.49
Regular Pay                                                         72.0000                              $39.7335                          $2,860.81                                   $11,562.45
Spouse Life                                                                                                                                       $2.08                                   $10.40




Total Hours 80.0000


Deductions

                                                                                              Employee                                                      Employer
Deduction                                               Pre-Tax                         Current                             YTD                      Current                                YTD
Dep Life Child                                                No                             $1.03                         $5.15                          $0.00                            $0.00
Dependent Life                                                No                             $0.52                        $2.60                           $0.00                            $0.00
Group Term Life                                               No                             $4.79                        $23.95                          $0.00                            $0.00
Healthcare FSA                                                Yes                        $20.00                       $100.00                             $0.00                            $0.00
Spouse Life                                                   No                             $2.08                        $10.40                          $0.00                            $0.00
Sup Spouse Life                                               No                             $1.16                        $5.80                           $0.00                            $0.00
Supp Life EE                                                  No                             $4.62                        $23.10                          $0.00                            $0.00
ADD                                                           No                             $0.00                        $0.00                       $29.75                             $148.75
Basic Child Lif                                               No                             $0.00                        $0.00                           $0.52                            $2.60
Basic Emp Life                                                No                             $0.00                        $0.00                           $0.32                            $1.60
Basic Sp Life                                                 No                             $0.00                        $0.00                           $2.08                           $10.40
Dental                                                        Yes                            $0.00                        $0.00                      $120.00                             $360.00
Group Term Life                                               No                             $0.00                        $0.00                      $128.93                             $644.65
Long Term Disab                                               No                             $0.00                        $0.00                           $5.08                           $25.40
Medical HBCBS                                                 Yes                            $0.00                        $0.00                     $1,412.00                          $4,236.00
Short Term Dis                                                No                             $0.00                        $0.00                           $3.74                           $18.70


Taxes

Tax                                                                                                                                     Current                                             YTD
Federal Income Tax                                                                                                                      $398.48                                        $2,002.51
Employee Medicare                                                                                                                        $45.91                                          $230.21
Social Security Employee Tax                                                                                                            $196.30                                          $984.33
AL State Income Tax                                                                                                                     $128.19                                          $643.25


Paid Time Off                                                                                Net Pay Distribution

Plan                                              Current                          Balance    Account Number                         Account Type                                        Amount
Floating Hol.                                     0.0000                           16.0000    xxxxxxxxx4340                          Checking                                          $2,382.99
Paid Time Off                                     6.4600                           56.4400    Total                                                                                    $2,382.99


Pay Summary

                                   Gross                                   FIT Taxable Wages                              Taxes                    Deductions                            Net Pay
Current                         $3,186.07                                             $3,166.07                       $768.88                             $34.20                       $2,382.99
YTD                            $15,976.29                                            $15,876.29                      $3,860.30                            $171.00                      $11,944.99

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LG Electronics Alabama, Inc                                                                                                             Pay Statement
201 James Record Rd.                                                                                                                    Period Start Date 01/27/2019
Huntsville, AL 35824
                                                                                                                                        Period End Date       02/09/2019
256-774-4119
                                                                                                                                        Pay Date              02/15/2019
                                                                                                                                        Document              38607
                                                                                                                                        Net Pay               $2,382.99

Pay Details

BRETT ANDREW MILLAR                   Employee Number 104614                             Pay Group     LGEAI ISE                        Federal Income Tax                 S   3
102 BLUEBELLE DR.                     SSN                  XXX-XX-7663                   Location      Huntsville, AL                   AL State Income Tax (Residence) W 2
MADISON, AL 35758                     Job                  Cust Svc Analyst III          Division      I10001 - Customer Service        AL State Income Tax (Work)         W 2
USA                                   Pay Rate             $39.7335                      Department I40026 - Field Service
                                      Pay Frequency        Biweekly                      Team          I40102 - FS KAM
                                                                                         Part          -

Earnings

Pay Type                                                              Hours                             Pay Rate                               Current                                  YTD
Dependent Life                                                                                                                                   $0.52                                $2.08
Group Term Life                                                                                                                                   $4.79                               $19.16
Holiday                                                              0.0000                                $0.0000                               $0.00                              $953.61
Paid Time Off                                                         5.0000                           $39.7335                                $198.67                             $3,059.49
Regular Pay                                                          75.0000                           $39.7335                               $2,980.01                            $8,701.64
Spouse Life                                                                                                                                      $2.08                                 $8.32




Total Hours 80.0000


Deductions

                                                                                            Employee                                                       Employer
Deduction                                                  Pre-Tax                       Current                          YTD                     Current                               YTD
Dep Life Child                                                 No                           $1.03                        $4.12                      $0.00                             $0.00
Dependent Life                                                 No                          $0.52                         $2.08                      $0.00                             $0.00
Group Term Life                                                No                           $4.79                       $19.16                      $0.00                             $0.00
Healthcare FSA                                                 Yes                        $20.00                        $80.00                      $0.00                             $0.00
Spouse Life                                                    No                          $2.08                         $8.32                      $0.00                             $0.00
Sup Spouse Life                                                No                           $1.16                        $4.64                      $0.00                             $0.00
Supp Life EE                                                   No                           $4.62                       $18.48                      $0.00                             $0.00
ADD                                                            No                          $0.00                         $0.00                     $29.75                            $119.00
Basic Child Lif                                                No                          $0.00                         $0.00                      $0.52                             $2.08
Basic Emp Life                                                 No                          $0.00                         $0.00                      $0.32                              $1.28
Basic Sp Life                                                  No                          $0.00                         $0.00                      $2.08                              $8.32
Dental                                                         Yes                         $0.00                         $0.00                      $0.00                           $240.00
Group Term Life                                                No                          $0.00                         $0.00                    $128.93                            $515.72
Long Term Disab                                                No                          $0.00                         $0.00                      $5.08                            $20.32
Medical HBCBS                                                  Yes                         $0.00                         $0.00                      $0.00                          $2,824.00
Short Term Dis                                                 No                          $0.00                         $0.00                       $3.74                            $14.96


Taxes

Tax                                                                                                                                   Current                                           YTD
Federal Income Tax                                                                                                                    $398.48                                      $1,593.92
Employee Medicare                                                                                                                      $45.91                                       $183.63
Social Security Employee Tax                                                                                                          $196.30                                        $785.19
AL State Income Tax                                                                                                                   $128.19                                        $512.76


Paid Time Off                                                                            Net Pay Distribution

Plan                                             Current                       Balance    Account Number                           Account Type                                     Amount
Floating Hol.                                    0.0000                        16.0000    xxxxxxxxx4340                            Checking                                        $2,382.99
Paid Time Off                                    6.4600                        49.9800    Total                                                                                    $2,382.99


Pay Summary

                                   Gross                                   FIT Taxable Wages                            Taxes                      Deductions                       Net Pay
Current                         $3,186.07                                          $3,166.07                          $768.88                             $34.20                   $2,382.99
YTD                            $12,744.30                                         $12,664.30                         $3,075.50                        $136.80                      $9,532.00

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LG Electronics Alabama, Inc                                                                                                               Pay Statement
201 James Record Rd.                                                                                                                      Period Start Date 01/27/2019
Huntsville, AL 35824
                                                                                                                                          Period End Date     02/09/2019
256-774-4119
                                                                                                                                          Pay Date            02/15/2019
                                                                                                                                          Document            39118
                                                                                                                                          Net Pay             $30.00

Pay Details

BRETT ANDREW MILLAR                   Employee Number 104614                                Pay Group     LGEAI ISE                       Federal Income Tax               S   3
102 BLUEBELLE DR.                     SSN                  XXX-XX-7663                      Location      Huntsville, AL                  AL State Income Tax (Residence) W 2
MADISON, AL 35758                     Job                  Cust Svc Analyst III             Division      I10001 - Customer Service       AL State Income Tax (Work)       W 2
USA                                   Pay Rate             $39.7335                         Department I40026 - Field Service
                                      Pay Frequency        Biweekly                         Team          I40102 - FS KAM
                                                                                            Part          -

Earnings

Pay Type                                                               Hours                                  Pay Rate                       Current                                    YTD
Birthday Award                                                                                                                                   $45.92                              $45.92
Dependent Life                                                        0.0000                                  $0.0000                             $0.00                               $2.08
Group Term Life                                                       0.0000                                  $0.0000                             $0.00                               $19.16
Holiday                                                               0.0000                                  $0.0000                             $0.00                             $953.61
Paid Time Off                                                         0.0000                                  $0.0000                             $0.00                            $3,059.49
Regular Pay                                                           0.0000                                  $0.0000                             $0.00                            $8,701.64
Spouse Life                                                           0.0000                                  $0.0000                             $0.00                                $8.32




Total Hours 0.0000


Deductions

                                                                                               Employee                                                     Employer
Deduction                                                  Pre-Tax                           Current                         YTD                    Current                             YTD
Dep Life Child                                                  No                             $0.00                        $4.12                     $0.00                           $0.00
Dependent Life                                                  No                             $0.00                        $2.08                     $0.00                           $0.00
Group Term Life                                                 No                             $0.00                       $19.16                     $0.00                           $0.00
Healthcare FSA                                                 Yes                             $0.00                       $80.00                     $0.00                           $0.00
Spouse Life                                                     No                             $0.00                        $8.32                     $0.00                           $0.00
Sup Spouse Life                                                 No                             $0.00                        $4.64                     $0.00                           $0.00
Supp Life EE                                                    No                             $0.00                       $18.48                     $0.00                           $0.00
ADD                                                             No                             $0.00                        $0.00                     $0.00                          $119.00
Basic Child Lif                                                 No                             $0.00                        $0.00                     $0.00                           $2.08
Basic Emp Life                                                  No                             $0.00                        $0.00                     $0.00                            $1.28
Basic Sp Life                                                   No                             $0.00                        $0.00                     $0.00                            $8.32
Dental                                                         Yes                             $0.00                        $0.00                     $0.00                         $240.00
Group Term Life                                                 No                             $0.00                        $0.00                     $0.00                          $515.72
Long Term Disab                                                 No                             $0.00                        $0.00                     $0.00                          $20.32
Medical HBCBS                                                  Yes                             $0.00                        $0.00                     $0.00                        $2,824.00
Short Term Dis                                                  No                             $0.00                        $0.00                     $0.00                           $14.96


Taxes

Tax                                                                                                                                    Current                                          YTD
Federal Income Tax                                                                                                                       $10.11                                    $1,604.03
Employee Medicare                                                                                                                         $0.67                                     $184.30
Social Security Employee Tax                                                                                                             $2.84                                      $788.03
AL State Income Tax                                                                                                                      $2.30                                      $515.06


Paid Time Off                                                                                Net Pay Distribution

Plan                                             Current                          Balance    Account Number                           Account Type                                  Amount
Floating Hol.                                    0.0000                           16.0000    xxxxxxxxx4340                            Checking                                       $30.00
Paid Time Off                                    0.0000                           49.9800    Total                                                                                   $30.00


Pay Summary

                                   Gross                                    FIT Taxable Wages                              Taxes                     Deductions                     Net Pay
Current                           $45.92                                                    $45.92                         $15.92                          $0.00                     $30.00
YTD                            $12,790.22                                             $12,710.22                      $3,091.42                           $136.80                  $9,562.00

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LG Electronics Alabama, Inc                                                                                                              Pay Statement
201 James Record Rd.                                                                                                                     Period Start Date 01/13/2019
Huntsville, AL 35824
                                                                                                                                         Period End Date       01/26/2019
256-774-4119
                                                                                                                                         Pay Date              02/01/2019
                                                                                                                                         Document              38034
                                                                                                                                         Net Pay               $2,383.00

Pay Details

BRETT ANDREW MILLAR                    Employee Number 104614                               Pay Group   LGEAI ISE                        Federal Income Tax                 S   3
102 BLUEBELLE DR.                      SSN                   XXX-XX-7663                    Location    Huntsville, AL                   AL State Income Tax (Residence) W 2
MADISON, AL 35758                      Job                   Cust Svc Analyst III           Division    I10001 - Customer Service        AL State Income Tax (Work)         W 2
USA                                    Pay Rate              $39.7335                       Department I40026 - Field Service
                                       Pay Frequency         Biweekly                       Team        I40102 - FS KAM
                                                                                            Part        -

Earnings

Pay Type                                                                Hours                               Pay Rate                           Current                                   YTD
Dependent Life                                                                                                                                    $0.52                                 $1.56
Group Term Life                                                                                                                                   $4.79                                $14.37
Holiday                                                                 0.0000                              $0.0000                               $0.00                               $953.61
Paid Time Off                                                           0.0000                              $0.0000                               $0.00                             $2,860.82
Regular Pay                                                           80.0000                               $39.7335                       $3,178.68                                $5,721.63
Spouse Life                                                                                                                                       $2.08                                $6.24




Total Hours 80.0000


Deductions

                                                                                             Employee                                                      Employer
Deduction                                                   Pre-Tax                        Current                        YTD                       Current                              YTD
Dep Life Child                                                  No                           $1.03                       $3.09                       $0.00                             $0.00
Dependent Life                                                  No                           $0.52                       $1.56                       $0.00                             $0.00
Group Term Life                                                 No                           $4.79                      $14.37                       $0.00                             $0.00
Healthcare FSA                                                  Yes                        $20.00                       $60.00                       $0.00                             $0.00
Spouse Life                                                     No                           $2.08                       $6.24                       $0.00                             $0.00
Sup Spouse Life                                                 No                           $1.16                       $3.48                       $0.00                             $0.00
Supp Life EE                                                    No                           $4.62                      $13.86                       $0.00                             $0.00
ADD                                                             No                           $0.00                       $0.00                       $29.75                           $89.25
Basic Child Lif                                                 No                           $0.00                       $0.00                        $0.52                             $1.56
Basic Emp Life                                                  No                           $0.00                       $0.00                        $0.32                            $0.96
Basic Sp Life                                                   No                           $0.00                       $0.00                        $2.08                            $6.24
Dental                                                          Yes                          $0.00                       $0.00                      $120.00                          $240.00
Group Term Life                                                 No                           $0.00                       $0.00                      $128.93                          $386.79
Long Term Disab                                                 No                           $0.00                       $0.00                        $5.08                            $15.24
Medical HBCBS                                                   Yes                          $0.00                       $0.00                    $1,412.00                         $2,824.00
Short Term Dis                                                  No                           $0.00                       $0.00                        $3.74                            $11.22


Taxes

Tax                                                                                                                                     Current                                          YTD
Federal Income Tax                                                                                                                      $398.48                                     $1,195.44
Employee Medicare                                                                                                                        $45.90                                       $137.72
Social Security Employee Tax                                                                                                            $196.30                                      $588.89
AL State Income Tax                                                                                                                     $128.19                                      $384.57


Paid Time Off                                                                               Net Pay Distribution

Plan                                              Current                        Balance     Account Number                         Account Type                                     Amount
Floating Hol.                                     0.0000                         16.0000     xxxxxxxxx4340                          Checking                                        $2,383.00
Paid Time Off                                     6.4600                         48.5200     Total                                                                                  $2,383.00


Pay Summary

                                  Gross                                    FIT Taxable Wages                              Taxes                    Deductions                        Net Pay
Current                        $3,186.07                                            $3,166.07                           $768.87                            $34.20                   $2,383.00
YTD                            $9,558.23                                            $9,498.23                          $2,306.62                          $102.60                   $7,149.01

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LG Electronics Alabama, Inc                                                                                                         Pay Statement
201 James Record Rd.                                                                                                                Period Start Date 12/30/2018
Huntsville, AL 35824
                                                                                                                                    Period End Date          01/12/2019
256-774-4119
                                                                                                                                    Pay Date                 01/18/2019
                                                                                                                                    Document                 37406
                                                                                                                                    Net Pay                  $2,383.01

Pay Details

BRETT ANDREW MILLAR                   Employee Number 104614                            Pay Group   LGEAI ISE                        Federal Income Tax                   S   3
102 BLUEBELLE DR.                     SSN                  XXX-XX-7663                  Location    Huntsville, AL                   AL State Income Tax (Residence) W 2
MADISON, AL 35758                     Job                  Cust Svc Analyst III         Division    I10001 - Customer Service        AL State Income Tax (Work)           W 2
USA                                   Pay Rate             $39.7335                     Department I40026 - Field Service
                                      Pay Frequency        Biweekly                     Team        I40102 - FS KAM
                                                                                        Part        -

Earnings

Pay Type                                                              Hours                            Pay Rate                            Current                                     YTD
Dependent Life                                                                                                                               $0.52                                    $1.04
Group Term Life                                                                                                                              $4.79                                    $9.58
Holiday                                                              8.0000                            $39.7335                             $317.87                                 $953.61
Paid Time Off                                                        8.0000                            $39.7335                             $317.87                               $2,860.82
Regular Pay                                                       64.0000                              $39.7335                        $2,542.95                                  $2,542.95
Spouse Life                                                                                                                                  $2.08                                    $4.16




Total Hours 80.0000


Deductions

                                                                                            Employee                                                    Employer
Deduction                                                  Pre-Tax                       Current                        YTD                     Current                                YTD
Dep Life Child                                                 No                          $1.03                       $2.06                        $0.00                            $0.00
Dependent Life                                                 No                          $0.52                       $1.04                        $0.00                            $0.00
Group Term Life                                                No                          $4.79                       $9.58                        $0.00                            $0.00
Healthcare FSA                                                 Yes                        $20.00                     $40.00                         $0.00                            $0.00
Spouse Life                                                    No                          $2.08                       $4.16                        $0.00                            $0.00
Sup Spouse Life                                                No                           $1.16                      $2.32                        $0.00                            $0.00
Supp Life EE                                                   No                          $4.62                       $9.24                        $0.00                            $0.00
ADD                                                            No                          $0.00                       $0.00                        $29.75                          $59.50
Basic Child Lif                                                No                          $0.00                       $0.00                        $0.52                             $1.04
Basic Emp Life                                                 No                          $0.00                       $0.00                        $0.32                            $0.64
Basic Sp Life                                                  No                          $0.00                       $0.00                        $2.08                             $4.16
Dental                                                         Yes                         $0.00                       $0.00                        $0.00                          $120.00
Group Term Life                                                No                          $0.00                       $0.00                    $128.93                            $257.86
Long Term Disab                                                No                          $0.00                       $0.00                        $5.08                            $10.16
Medical HBCBS                                                  Yes                         $0.00                       $0.00                        $0.00                         $1,412.00
Short Term Dis                                                 No                          $0.00                       $0.00                         $3.74                            $7.48


Taxes

Tax                                                                                                                                    Current                                         YTD
Federal Income Tax                                                                                                                     $398.48                                     $796.96
Employee Medicare                                                                                                                          $45.91                                    $91.82
Social Security Employee Tax                                                                                                           $196.29                                     $392.59
AL State Income Tax                                                                                                                    $128.19                                     $256.38


Paid Time Off                                                                           Net Pay Distribution

Plan                                             Current                      Balance    Account Number                         Account Type                                       Amount
Floating Hol.                                    0.0000                       16.0000    xxxxxxxxx4340                          Checking                                          $2,383.01
Paid Time Off                                    6.4600                       42.0600    Total                                                                                    $2,383.01


Pay Summary

                                  Gross                                    FIT Taxable Wages                         Taxes                     Deductions                          Net Pay
Current                        $3,186.08                                           $3,166.08                       $768.87                            $34.20                      $2,383.01
YTD                            $6,372.16                                           $6,332.16                      $1,537.75                           $68.40                      $4,766.01

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LG Electronics Alabama, Inc                                                                                                            Pay Statement
201 James Record Rd.                                                                                                                   Period Start Date 12/16/2018
Huntsville, AL 35824
                                                                                                                                       Period End Date         12/29/2018
256-774-4119
                                                                                                                                       Pay Date                01/04/2019
                                                                                                                                       Document                36855
                                                                                                                                       Net Pay                 $2,383.00

Pay Details

BRETT ANDREW MILLAR                   Employee Number 104614                             Pay Group    LGEAI ISE                        Federal Income Tax                   S   3
102 BLUEBELLE DR.                     SSN                   XXX-XX-7663                  Location     Huntsville, AL                   AL State Income Tax (Residence) W 2
MADISON, AL 35758                     Job                   Cust Svc Analyst III         Division     I10001 - Customer Service        AL State Income Tax (Work)           W 2
USA                                   Pay Rate              $39.7335                     Department I40026 - Field Service
                                      Pay Frequency         Biweekly                     Team         I40102 - FS KAM
                                                                                         Part         -

Earnings

Pay Type                                                               Hours                          Pay Rate                                Current                                    YTD
Dependent Life                                                                                                                                  $0.52                                   $0.52
Group Term Life                                                                                                                                 $4.79                                   $4.79
Holiday                                                              16.0000                          $39.7335                                $635.74                                $635.74
Paid Time Off                                                        64.0000                          $39.7335                            $2,542.95                                 $2,542.95
Spouse Life                                                                                                                                     $2.08                                  $2.08




Total Hours 80.0000


Deductions

                                                                                           Employee                                                     Employer
Deduction                                                  Pre-Tax                       Current                        YTD                       Current                                YTD
Dep Life Child                                                 No                          $1.03                       $1.03                          $0.00                            $0.00
Dependent Life                                                 No                          $0.52                       $0.52                          $0.00                            $0.00
Group Term Life                                                No                          $4.79                       $4.79                          $0.00                            $0.00
Healthcare FSA                                                 Yes                       $20.00                    $20.00                             $0.00                            $0.00
Spouse Life                                                    No                          $2.08                       $2.08                          $0.00                            $0.00
Sup Spouse Life                                                No                          $1.16                       $1.16                          $0.00                            $0.00
Supp Life EE                                                   No                          $4.62                       $4.62                          $0.00                            $0.00
ADD                                                            No                         $0.00                     $0.00                             $29.75                           $29.75
Basic Child Lif                                                No                         $0.00                     $0.00                             $0.52                             $0.52
Basic Emp Life                                                 No                         $0.00                     $0.00                             $0.32                            $0.32
Basic Sp Life                                                  No                         $0.00                     $0.00                             $2.08                            $2.08
Dental                                                         Yes                        $0.00                     $0.00                         $120.00                            $120.00
Group Term Life                                                No                         $0.00                     $0.00                         $128.93                            $128.93
Long Term Disab                                                No                         $0.00                     $0.00                             $5.08                            $5.08
Medical HBCBS                                                  Yes                        $0.00                     $0.00                        $1,412.00                          $1,412.00
Short Term Dis                                                 No                         $0.00                     $0.00                              $3.74                            $3.74


Taxes

Tax                                                                                                                                      Current                                         YTD
Federal Income Tax                                                                                                                       $398.48                                     $398.48
Employee Medicare                                                                                                                            $45.91                                    $45.91
Social Security Employee Tax                                                                                                             $196.30                                     $196.30
AL State Income Tax                                                                                                                      $128.19                                      $128.19


Paid Time Off                                                                            Net Pay Distribution

Plan                                             Current                       Balance    Account Number                          Account Type                                       Amount
Floating Hol.                                    16.0000                       16.0000    xxxxxxxxx4340                           Checking                                          $2,383.00
Paid Time Off                                     6.4600                       43.6000    Total                                                                                     $2,383.00


Pay Summary

                                  Gross                                     FIT Taxable Wages                       Taxes                       Deductions                           Net Pay
Current                        $3,186.08                                            $3,166.08                     $768.88                              $34.20                       $2,383.00
YTD                            $3,186.08                                            $3,166.08                     $768.88                              $34.20                       $2,383.00

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